Case 1:20-cv-03747-NRN Document 175 Filed 12/23/21 USDC Colorado Page 1 of 1
Appellate Case: 21-1394       Document: 010110623511            Date Filed: 12/23/2021    Page: 1
                     UNITED STATES COURT OF APPEALS FOR THE TENTH CIRCUIT
                                Byron White United States Courthouse
                                          1823 Stout Street
                                      Denver, Colorado 80257
                                           (303) 844-3157
                                      Clerk@ca10.uscourts.gov
 Christopher M. Wolpert                                                             Jane K. Castro
 Clerk of Court                                                                 Chief Deputy Clerk
                                      December 23, 2021




  Mr. Jeffrey P. Colwell
  United States District Court for the District of Colorado
  Office of the Clerk
  Alfred A. Arraj U.S. Courthouse
  901 19th Street
  Denver, CO 80294-3589
  RE:       21-1394, O'Rourke, et al v. Dominion Voting Systems, et al
            Dist/Ag docket: 1:20-CV-03747-NRN

 Dear Counsel:

 Please be advised that the court issued an order today dismissing this case.

 In addition, pursuant to Federal Rule of Appellate Procedure 41, the Tenth Circuit's
 mandate issued today, and the court's judgment takes effect. With the issuance of this
 letter, jurisdiction is transferred back to the lower court/agency.

 Please contact this office if you have questions.

                                               Sincerely,



                                               Christopher M. Wolpert
                                               Clerk of Court




  CC: Attorneys of record
  CMW/jjh
